           Case 2:04-cr-00004-MCE Document 163 Filed 11/12/09 Page 1 of 3


1    DANIEL J. BRODERICK, Bar #89424
     Federal Defender
2    TIMOTHY ZINDEL, Bar #158377
     Assistant Federal Defender
3    801 I Street, 3rd Floor
     Sacramento, California 95814
4    Telephone: (916) 498-5700
5
6    Attorney for Defendant
     DAVID DEAN DAVIDSON
7
8
9                           IN THE UNITED STATES DISTRICT COURT
10                      FOR THE EASTERN DISTRICT OF CALIFORNIA
11
12
13   UNITED STATES OF AMERICA,       )       No. 2:04-CR-00004 MCE
                                     )
14                  Plaintiff,       )
                                     )       STIPULATION AND ORDER
15        v.                         )       CONTINUING STATUS CONFERENCE
                                     )       AND EXCLUDING TIME
16   DAVID DEAN DAVIDSON,            )
                                     )
17                  Defendant.       )       Date: November 12, 2009
                                     )       Time: 9:00 a.m.
18   _______________________________ )       Judge: Morrison C. England, Jr.
19
20        It   is   hereby    stipulated   and    agreed   between   defendant,   David
21   Davidson, and plaintiff, United States of America, by and through their
22   attorneys, that the status conference presently scheduled for November
23   12, 2009, may be continued to December 3, 2009, at 9:00 a.m.
24        Counsel for the parties have scheduled another meeting to iron out
25   their differences.        Defense counsel believes that guidelines issued
26   yesterday   by   the    Attorney   General   concerning   prosecution   of   cases
27   involving marijuana distributed for medical use will bear on the parties’
28   negotiations.     In order to afford time to complete this review, the
            Case 2:04-cr-00004-MCE Document 163 Filed 11/12/09 Page 2 of 3


1    parties agree that time under the Speedy Trial Act should be excluded
2    from the date of this order through December 3, 2009, pursuant to Title
3    18, United States Code, Section 3161(h)(7)(A) and (B)(iv).
4                                       Respectfully Submitted,
5                                       DANIEL J. BRODERICK
                                        Federal Defender
6
7    Dated:   November 10, 2009         /s/ T. Zindel
                                        TIMOTHY ZINDEL
8                                       Assistant Federal Defender
                                        Attorney for DAVID DEAN DAVIDSON
9
10                                      BEN WAGNER
                                        United States Attorney
11
12   Dated:   November 10, 2009         /s/ T. Zindel for M. Stegman
                                        MATT STEGMAN
13                                      Assistant U.S. Attorney
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28


     Stip & Order/David Dean Davidson       -2-
            Case 2:04-cr-00004-MCE Document 163 Filed 11/12/09 Page 3 of 3


1                                        O R D E R
2          The status conference is continued to December 3, 2009, at 9:00 a.m.
3    The court finds that a continuance is necessary for the reasons stated
4    above and further finds that the ends of justice served by granting a
5    continuance outweigh the best interests of the public and the defendant
6    in a speedy trial.       Time is therefore excluded from the date of this
7    order through December 3, 2009, pursuant to 18 U.S.C. § 3161(h)(7)(A) and
8    (B)(iv).
9          IT IS SO ORDERED.
10
      Dated: November 12, 2009
11
12                                         _____________________________
                                           MORRISON C. ENGLAND, JR.
13
                                           UNITED STATES DISTRICT JUDGE
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28


     Stip & Order/David Dean Davidson       -3-
